
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $33,872.22 for payment of invoices which were incurred by claimant pursuant to a contract with the respondent under the Governor's Community Partnership Grant Program. In accordance with the contract, the claimant began an improvement project to its water system for which claimant incurred invoices for services. The respondent admits the validity and amount of the claim and states that there were sufficient funds in respondent's budget for the appropriate fiscal year with which the claim could have been paid; however, the respondent was unable to make payment as the State Auditor returned the transmittal to the respondent with the explanation that the Treasury of the State of West Virginia lacked sufficient funds to process the transmittal.
The Court has reviewed the petition, Answer, and contract and finds the State agency had sufficient funds within its appropriated budget to pay the claim and finds that the claimant is entitled to an award from the respondent.
In view of the foregoing, the Court makes an award in the amount of $33,872.22.
Award of $33,872.22.
